             Case 08-31914-hdh7                Doc 145     Filed 07/27/18 Entered 07/27/18 12:56:47     Desc Main
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               Daniel J. Sherman
               Chapter 7 Trustee
               509 N. Montclair Avenue
               Dallas, TX 75208
1A
 101-7-TDR
 /2009
 /2010
 2ems Inc.     (214) 942-5502
                                      UNITED STATES BANKRUPTCY COURT
                                        NORTHERN DISTRICT OF TEXAS
                                              DALLAS DIVISION


              In Re:                                              §
                                                                  §
              PRISM GRAPHICS, INC.                                §     Case No. 08-31914
                                                                  §
                                  Debtor                          §

                              CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                              REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                              ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)

                      DANIEL J. SHERMAN, TRUSTEE, chapter 7 trustee, submits this Final Account,
              Certification that the Estate has been Fully Administered and Application to be Discharged.

                      1) All funds on hand have been distributed in accordance with the Trustee’s Final Report
              and, if applicable, any order of the Court modifying the Final Report. The case is fully
              administered and all assets and funds which have come under the trustee’s control in this case
              have been properly accounted for as provided by law. The trustee hereby requests to be
              discharged from further duties as a trustee.

                     2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims
              discharged without payment, and expenses of administration is provided below:


              Assets Abandoned: 251,168.67                              Assets Exempt: 0.00
              (Without deducting any secured claims)

              Total Distributions to Claimants: 186,292.36              Claims Discharged
                                                                        Without Payment: 2,937,788.16

              Total Expenses of Administration: 468,858.99


                      3) Total gross receipts of $ 655,151.35 (see Exhibit 1), minus funds paid to the debtor
              and third parties of $ 0.00 (see Exhibit 2), yielded net receipts of $ 655,151.35 from the
              liquidation of the property of the estate, which was distributed as follows:




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                                                  CLAIMS             CLAIMS               CLAIMS                 CLAIMS
                                                SCHEDULED           ASSERTED             ALLOWED                  PAID



SECURED CLAIMS
(from Exhibit 3)                                            $ NA           $ 45.55               $ 45.55                 $ 45.55

PRIORITY CLAIMS:
  CHAPTER 7 ADMIN. FEES
  AND CHARGES
  (from Exhibit 4)                                            NA       468,858.99             468,858.99            468,858.99

PRIOR CHAPTER
  ADMIN. FEES AND
  CHARGES (from Exhibit 5)                                    NA               NA                    NA                     NA

  PRIORITY UNSECURED
  CLAIMS (from Exhibit 6)                                    0.00      188,975.93             188,975.93                6,914.70

GENERAL UNSECURED
CLAIMS (from Exhibit 7)                              1,348,747.24     1,592,075.06          1,592,075.06            179,332.11

TOTAL DISBURSEMENTS                              $ 1,348,747.24     $ 2,249,955.53        $ 2,249,955.53          $ 655,151.35


                 4) This case was originally filed under chapter 11 on 04/25/2008 , and it was converted
          to chapter 7 on 06/24/2008 . The case was pending for 122 months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to
          the United States Trustee.

                  6) An individual estate property record and report showing the final accounting of the
          assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for each
          estate bank account, showing the final accounting of the receipts and disbursements of estate
          funds is attached as Exhibit 9.

                 Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
          foregoing report is true and correct.

          Dated: 07/05/2018                          By:/s/DANIEL J. SHERMAN, TRUSTEE
                                                                            Trustee
          STATEMENT: This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork Reduction Act
          exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                             EXHIBITS TO
                                                           FINAL ACCOUNT


              EXHIBIT 1 – GROSS RECEIPTS

                             DESCRIPTION                                   UNIFORM                                   $ AMOUNT
                                                                          TRAN. CODE1                                RECEIVED

JP MORGAN CHASE CHECKING ACCOUNT                                             1129-000                                      5,107.69

    ADVERSARY PROCEEDING 10-3092                                             1241-000                                    635,000.00

    ADVERSARY PROCEEDING 10-3092                                             1249-000                                     15,000.00

    Post-Petition Interest Deposits                                          1270-000                                           3.29

    MISCELLANEOUS REFUNDS                                                    1290-000                                         40.37

TOTAL GROSS RECEIPTS                                                                                                   $ 655,151.35
1
 The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.


              EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                     PAYEE                                      DESCRIPTION                         UNIFORM          $ AMOUNT
                                                                                                   TRAN. CODE           PAID

NA                                                                                                      NA                      NA

TOTAL FUNDS PAID TO DEBTOR &                                                                                                  $ 0.00
THIRD PARTIES


              EXHIBIT 3 – SECURED CLAIMS




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                                                UNIFORM         CLAIMS
                                                                                CLAIMS            CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.       SCHEDULED                                             CLAIMS PAID
                                                                               ASSERTED          ALLOWED
                                                 CODE       (from Form 6D)

            LEWISVILLE
            INDEPENDENT SCHOOL
000004      DISTR                               4800-000                 NA              45.55             45.55            45.55

TOTAL SECURED CLAIMS                                                   $ NA           $ 45.55          $ 45.55            $ 45.55


            EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                             CLAIMS            CLAIMS             CLAIMS
              PAYEE                       TRAN.                                                                    CLAIMS PAID
                                                           SCHEDULED          ASSERTED           ALLOWED
                                          CODE

TRUSTEE
COMPENSATION:DANIEL J.
SHERMAN, TRUSTEE                          2100-000                     NA         36,007.57         36,007.57           36,007.57


TRUSTEE EXPENSES:DANIEL J.
SHERMAN, TRUSTEE                          2200-000                     NA          1,746.84          1,746.84            1,746.84


INTERNATIONAL SURETIES                    2300-000                     NA          1,310.00          1,310.00            1,310.00


BANK OF AMERICA                           2600-000                     NA             19.13             19.13               19.13


PREFERRED BANK                            2600-000                     NA           156.63            156.63              156.63


UNION BANK                                2600-000                     NA          6,699.46          6,699.46            6,699.46


US TRUSTEE                                2950-000                     NA           325.00            325.00              325.00


ATTORNEY FOR TRUSTEE FEES
(TRUSTEE FIRM):SHERMAN &
YAQUINTO, L.L.P.                          3110-000                     NA         37,065.00         37,065.00           37,065.00




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                                             UNIFORM
                                                             CLAIMS          CLAIMS          CLAIMS
                  PAYEE                       TRAN.                                                         CLAIMS PAID
                                                           SCHEDULED        ASSERTED        ALLOWED
                                              CODE

ATTORNEY FOR TRUSTEE
EXPENSES (TRUSTEE
FIRM):SHERMAN & YAQUINTO,
L.L.P.                                        3120-000                 NA          126.34          126.34           126.34


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):FRANKLIN
HAYWARD LLP                                   3210-000                 NA       17,835.00       17,835.00        17,835.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):FRANKLIN
SKIERSKI HAYWARD LLP                          3210-000                 NA      267,426.00      267,426.00       267,426.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SKIERSKI JAIN
PLLC                                          3210-000                 NA       11,620.00       11,620.00        11,620.00


ATTORNEY FOR TRUSTEE FEES
(OTHER FIRM):SKIERSKI LAW
PLLC                                          3210-000                 NA        5,775.00        5,775.00         5,775.00


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):FRANKLIN HAYWARD
LLP                                           3220-000                 NA          512.92          512.92           512.92


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):FRANKLIN SKIERSKI
HAYWARD LLP                                   3220-000                 NA        9,443.08        9,443.08         9,443.08




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                                         UNIFORM
                                                         CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                           CLAIMS PAID
                                                       SCHEDULED        ASSERTED         ALLOWED
                                          CODE

ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):SKIERSKI JAIN PLLC                  3220-000                 NA            84.76            84.76             84.76


ATTORNEY FOR TRUSTEE
EXPENSES (OTHER
FIRM):SKIERSKI LAW PLLC                   3220-000                 NA            61.96            61.96             61.96


ACCOUNTANT FOR TRUSTEE
FEES (OTHER FIRM):LAIN,
FAULKNER & CO., P.C.                      3410-000                 NA        72,054.50       72,054.50         72,054.50


ACCOUNTANT FOR TRUSTEE
EXPENSES (OTHER FIRM):LAIN,
FAULKNER & CO., P.C.                      3420-000                 NA           589.80          589.80            589.80

TOTAL CHAPTER 7 ADMIN. FEES                                     $ NA      $ 468,858.99    $ 468,858.99       $ 468,858.99
AND CHARGES



           EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                                         UNIFORM
                                                         CLAIMS          CLAIMS           CLAIMS
              PAYEE                       TRAN.                                                           CLAIMS PAID
                                                       SCHEDULED        ASSERTED         ALLOWED
                                          CODE

NA: NA                                          NA                 NA              NA              NA                NA

TOTAL PRIOR CHAPTER ADMIN.                                      $ NA             $ NA             $ NA              $ NA
FEES AND CHARGES



           EXHIBIT 6 – PRIORITY UNSECURED CLAIMS




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                                                             CLAIMS            CLAIMS
                                                UNIFORM
                                                           SCHEDULED          ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                          CLAIMS PAID
                                                            (from Form      (from Proofs of     ALLOWED
                                                 CODE
                                                                6E)             Claim)

            Dallas County Tax Office
            Records Building 500 Elm
            Street Dallas, TX 75202-3504
            City of Irving 825 W. Irving
            Blvd. Irving, TX 75060 Irving
            ISD 2621 W. Airport Frwy.
            Irving, TX 75062-6020                                    0.00                 NA              NA              0.00


            Internal Revenue Service
            Special Procedures-Insolvency
            PO Box 21126 Philadelphia,
            PA 19114                                                 0.00                 NA              NA              0.00


000006A     BRYAN NETSCH                        5300-000             NA           160,000.00      160,000.00              0.00


            COMPTROLLER OF
000005      PUBLIC ACCOUNTS                     5800-000             0.00            6,914.70        6,914.70         6,914.70


            INTERNAL REVENUE
000002B     SERVICE                             5800-000             NA            22,061.23        22,061.23             0.00

TOTAL PRIORITY UNSECURED                                           $ 0.00       $ 188,975.93     $ 188,975.93       $ 6,914.70
CLAIMS



            EXHIBIT 7 – GENERAL UNSECURED CLAIMS




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                                                             CLAIMS             CLAIMS
                                                UNIFORM
                                                           SCHEDULED           ASSERTED           CLAIMS
CLAIM NO.             CLAIMANT                   TRAN.                                                            CLAIMS PAID
                                                            (from Form       (from Proofs of     ALLOWED
                                                 CODE
                                                                6F)              Claim)

            Giddy Up, LLC 3630 Plaza
            Dr., Suite 6 Ann Arbor, MI
            48108 Giddy Up, LLC Attn:
            Andrew R. Korn, Esq. 4221
            Avondale Ave. Dallas, TX
            75219 Giddy Up, LLC Attn:
            Andrew G. DiNovo, Esq.
            DiNovo Price Ellwanger LLP
            PO Box 201690 Austin, TX
            78720 Giddy Up, LLC                               1,186,572.38                 NA               NA              0.00


            Performance Printing LP 2929
            Stemmons Freeway Dallas,
            TX 75247                                           155,000.00                  NA               NA              0.00


            Schreimann & Associates,
            P.C. c/o Dan Schreimann 909
            Lake Carolyn Parkway, Suite
            150 Irving, TX 75039                                    184.50                 NA               NA              0.00


000001      ELMER'S PRODUCTS, INC. 7100-000                            NA        1,188,109.07      1,188,109.07       179,332.11


000007      INTENSE PRINTING, INC.              7100-000          6,990.36         400,000.00       400,000.00              0.00


            INTERNAL REVENUE
000002A     SERVICE                             7100-000               NA             3,965.99         3,965.99             0.00

TOTAL GENERAL UNSECURED                                     $ 1,348,747.24     $ 1,592,075.06    $ 1,592,075.06     $ 179,332.11
CLAIMS




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                                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                Page:      1
                                                                                               ASSET CASES                                                                                             Exhibit 8
Case No:               08-31914     HDH       Judge: HARLIN D. HALE                                                              Trustee Name:                     DANIEL J. SHERMAN, TRUSTEE
Case Name:             PRISM GRAPHICS, INC.                                                                                     Date Filed (f) or Converted (c):   06/24/08 (c)
                                                                                                                                341(a) Meeting Date:               07/21/08
For Period Ending: 07/05/18                                                                                                     Claims Bar Date:                   10/20/08



                                          1                                       2                        3                         4                         5                                 6
                                                                                                  Estimated Net Value
                                                                              Petition/      (Value Determined by Trustee,    Property Formally           Sale/Funds               Asset Fully Administered (FA)/
                              Asset Description                              Unscheduled        Less Liens, Exemptions,          Abandoned                Received by             Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                     Values              and Other Costs)          OA=554(a) Abandon             the Estate

 1. JP MORGAN CHASE CHECKING ACCOUNT                                              3,138.26                       3,138.26                                          5,107.69                   FA
     *demand made 07/23/08
 2. REGI INVESTMENT, INC. 2212 FT WORTH DR, DALLAS, TX                            2,732.91                       2,732.91                                                0.00                 FA
 3. STATE FARM INSURANCE POLICY                                                       0.00                           0.00                                                0.00                 FA
 4. ACCT. RECEIVABLE - MASTER GRILL STONE & GIDDY UP                            215,029.62                     215,029.62                                                0.00                 FA
     * uncollectible - Giddy Up has million $$ judgment against debtor
 5. OTHER LIQUIDATED DEBTS/SETTLEMENT AGREEMENT                                   1,454.23                       1,454.23                                                0.00                 FA
     compromise settlement agreement, dated 03/25/04 - Cause No.
     CC-04-01793-E, In the county Court at Law No. 5, Dallas County,
     Texas by Spencer Michlin, Serve Man, Inc., 3814 Herschel Ave.,
     Dallas, TX 75219

     * uncollectible
 6. OTHER LIQUIDATED DEBTS/M. BAILEY SETTLEMENT                                  25,000.00                      25,000.00                                                0.00                 FA
     SETTLEMENT: M BAILEY 108 FOREST HILL , TROPHY CLUB,
     TX 76262

     *uncollectible - no note or agreement.
 7. OTHER CONTINGENT/UNLIQUIDATED CLAIMS                                          4,176.00                       4,176.00                                                0.00                 FA
     ADP FINANCIAL SERVICES DIVISION, 2735 STEMMONS
     FREEWAY, DALLAS, TX 75207

     *uncollectible
 8. OFFICE EQUIP.                                                                 2,775.91                       2,775.91                                                0.00                 FA
     * worthless equipment
 9. Post-Petition Interest Deposits (u)                                           Unknown                            N/A                                                 3.29                 FA
 10. MISCELLANEOUS REFUNDS (u)                                                        0.00                          10.38                                               40.37                 FA




LFORM1                                                                                                                                                                                                       Ver: 20.00j
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                                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                              Page:       2
                                                                                                            ASSET CASES                                                                                                   Exhibit 8
Case No:             08-31914       HDH     Judge: HARLIN D. HALE                                                                               Trustee Name:                       DANIEL J. SHERMAN, TRUSTEE
Case Name:           PRISM GRAPHICS, INC.                                                                                                      Date Filed (f) or Converted (c):     06/24/08 (c)
                                                                                                                                               341(a) Meeting Date:                 07/21/08
                                                                                                                                               Claims Bar Date:                     10/20/08



                                       1                                                    2                            3                          4                         5                                     6
                                                                                                              Estimated Net Value
                                                                                      Petition/          (Value Determined by Trustee,       Property Formally           Sale/Funds                   Asset Fully Administered (FA)/
                              Asset Description                                      Unscheduled            Less Liens, Exemptions,             Abandoned                Received by                 Gross Value of Remaining Assets
                  (Scheduled and Unscheduled (u) Property)                             Values                  and Other Costs)             OA=554(a) Abandon             the Estate

 11. ADVERSARY PROCEEDING 10-3092 (u)                                                            0.00                          30,000.00                                           650,000.00                     FA
     *preference & fraudulent transfers - DJS vs. Bryan netsch, David
     Bunnell, Nicholas Netsch, Lucas Netsch, Marcus netsch, Thomas
     Netsch, Daniel Schreimann, P.C., Netsch Limited Partnership and
     Intense Printing, Inc.

                                                                                                                                                                                                   Gross Value of Remaining Assets
 TOTALS (Excluding Unknown Values)                                                       $254,306.93                         $284,317.31                                          $655,151.35                            $0.00
                                                                                                                                                                                                   (Total Dollar Amount in Column 6)

   _____________________________________________________________________________________________________________________________
   Major activities affecting case closing which are not reflected above, and matters pending, date of hearing or sale, and other action:


   TFR TO UST ON 10/13/2017. SECOND AMENDED TFR SENT TO UST ON 03/02/2018.


   Initial Projected Date of Final Report (TFR): 02/01/10           Current Projected Date of Final Report (TFR): 09/01/17




LFORM1                                                                                                                                                                                                                           Ver: 20.00j
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                    Exhibit 9
  Case No:             08-31914 -HDH                                                                                             Trustee Name:                      DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                      Bank Name:                         PREFERRED BANK
                                                                                                                                 Account Number / CD #:             *******7109 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                                    Blanket Bond (per case limit):
                                                                                                                                 Separate Bond (if applicable):     $   655,000.00


           1              2                              3                                                   4                                               5                       6                      7
    Transaction       Check or                                                                                                          Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction             Tran. Code       Deposits ($)         Disbursements ($)        Balance ($)
                                                                                  BALANCE FORWARD                                                                                                                     0.00
          01/27/12                Trsf In From BANK OF AMERICA                    INITIAL WIRE TRANSFER IN                             9999-000                   5,102.23                                       5,102.23
          07/19/12       11       Dave Bunnell                                    Settlement Payment                                   1241-000               25,000.00                                         30,102.23
          12/27/12       10       Coserv Electric                                 capital credit refund                                1290-000                     15.69                                       30,117.92
          12/27/12       10       CoServ Electric                                 capital credit refund                                1290-000                     14.30                                       30,132.22
                                  P.O. Box 1810
                                  Lake Dallas, Tx 75065-1810
          02/12/13                PREFERRED BANK                                  BANK SERVICE FEE                                     2600-000                                            31.39                30,100.83
                                                                                  Monthly bank service fee
          03/01/13                Preferred Bank                                  BANK SERVICE FEE                                     2600-000                                            31.37                30,069.46
          04/01/13                PREFERRED BANK                                  BANK SERVICE FEE                                     2600-000                                            31.32                30,038.14
          05/01/13                PREFERRED BANK                                  BANK SERVICE FEE                                     2600-000                                            31.29                30,006.85
          06/03/13                PREFERRED BANK                                  BANK SERVICE FEE                                     2600-000                                            31.26                29,975.59
          06/13/13                Trsf To UNION BANK                              FINAL TRANSFER                                       9999-000                                      29,975.59                        0.00

                                                                                                             COLUMN TOTALS                                    30,132.22              30,132.22                         0.00
                                                                                                                 Less: Bank Transfers/CD's                     5,102.23              29,975.59
                                                                                                             Subtotal                                         25,029.99                   156.63
                                                                                                                 Less: Payments to Debtors                                                  0.00
                                                                                                             Net
                                                                                                                                                              25,029.99                   156.63




                                                                                                                                 Page Subtotals               30,132.22                  30,132.22
                                                                                                                                                                                                                Ver: 20.00j
LFORM24
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                               Exhibit 9
  Case No:             08-31914 -HDH                                                                                       Trustee Name:                      DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                Bank Name:                         UNION BANK
                                                                                                                           Account Number / CD #:             *******1616 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                              Blanket Bond (per case limit):
                                                                                                                           Separate Bond (if applicable):     $   655,000.00


           1              2                              3                                                4                                            5                       6                      7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)         Disbursements ($)       Balance ($)
                                                                                 BALANCE FORWARD                                                                                                                0.00
          06/13/13                Trsf In From PREFERRED BANK                    INITIAL WIRE TRANSFER IN                        9999-000               29,975.59                                         29,975.59
          07/25/13                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           25.87                 29,949.72
          08/26/13                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.54                 29,905.18
          09/25/13                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.50                 29,860.68
          10/25/13                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           43.00                 29,817.68
          11/25/13                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.37                 29,773.31
          12/26/13                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           42.87                 29,730.44
          01/27/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.24                 29,686.20
          02/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.18                 29,642.02
          03/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           39.84                 29,602.18
          04/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.04                 29,558.14
          05/27/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           42.57                 29,515.57
          06/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           43.92                 29,471.65
          07/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           42.44                 29,429.21
          07/30/14       11       Schreimann & Associates, P.C.                  settlement                                      1249-000                   5,000.00                                      34,429.21
          08/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           44.03                 34,385.18
          09/08/14       11       Schreimann & Associates, PC                    Adversary Settlement                            1249-000                   5,000.00                                      39,385.18
          09/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           51.16                 39,334.02
          10/21/14       11       Schreimann & Associates, PC                    adversary settlement                            1249-000                   5,000.00                                      44,334.02
          10/27/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           54.72                 44,279.30
          11/12/14       11       Daniel W. Schreimann, P.C.                     Adversary settlement payment                    1241-000                   5,000.00                                      49,279.30
          11/25/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           60.85                 49,218.45
          12/26/14                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           67.75                 49,150.70
          01/02/15       11       Daniel W. Schreimann, PC                       adversary settlement                            1241-000                   5,000.00                                      54,150.70
          01/26/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           73.13                 54,077.57
          02/25/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           79.50                 53,998.07
          03/25/15                UNION BANK                                     BANK SERVICE FEE                                2600-000                                           72.58                 53,925.49



                                                                                                                           Page Subtotals               54,975.59                  1,050.10
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                                                                          ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             08-31914 -HDH                                                                                         Trustee Name:                    DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                  Bank Name:                       UNION BANK
                                                                                                                             Account Number / CD #:           *******1616 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                                Blanket Bond (per case limit):
                                                                                                                             Separate Bond (if applicable):   $    655,000.00


           1              2                                 3                                               4                                            5                      6                     7
    Transaction       Check or                                                                                                      Uniform                                                     Account / CD
       Date           Reference                 Paid To / Received From                         Description Of Transaction         Tran. Code       Deposits ($)        Disbursements ($)        Balance ($)
          04/27/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           80.23               53,845.26
          05/26/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           77.55               53,767.71
          06/25/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           80.01               53,687.70
          07/27/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           77.31               53,610.39
          08/25/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           79.78               53,530.61
          09/25/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           79.65               53,450.96
          10/26/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           76.97               53,373.99
          11/25/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           79.42               53,294.57
          12/28/15                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           76.75               53,217.82
          01/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           79.20               53,138.62
          02/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           78.85               53,059.77
          03/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           73.66               52,986.11
          04/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           78.62               52,907.49
          05/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           75.98               52,831.51
          06/27/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           78.40               52,753.11
          07/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           75.77               52,677.34
          08/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           78.17               52,599.17
          09/26/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           78.05               52,521.12
          10/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           75.43               52,445.69
          11/25/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           77.82               52,367.87
          12/27/16                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           75.21               52,292.66
          01/11/17       11       Suretec Insurance Company                        adversary settlement                            1241-000              600,000.00                                   652,292.66
          01/12/17     100001     International Sureties, Ltd.                     NEW BOND #016073574                             2300-000                                         1,310.00          650,982.66
                                  701 Poydras Street                               JAN 11 2017 THROUGH JAN 11 2018
                                  Suite 420
                                  New Orleans, LA 70139
          01/25/17                UNION BANK                                       BANK SERVICE FEE                                2600-000                                           77.60           650,905.06
          02/27/17                UNION BANK                                       BANK SERVICE FEE                                2600-000                                          652.16           650,252.90
          03/27/17                UNION BANK                                       BANK SERVICE FEE                                2600-000                                          873.75           649,379.15

                                                                                                                             Page Subtotals              600,000.00                  4,546.34
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                          Exhibit 9
  Case No:             08-31914 -HDH                                                                                    Trustee Name:                    DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                             Bank Name:                       UNION BANK
                                                                                                                        Account Number / CD #:           *******1616 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                           Blanket Bond (per case limit):
                                                                                                                        Separate Bond (if applicable):   $      655,000.00


           1              2                             3                                              4                                            5                        6                   7
     Transaction      Check or                                                                                                 Uniform                                                      Account / CD
        Date          Reference               Paid To / Received From                      Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
          04/25/17                UNION BANK                                     BANK SERVICE FEE                             2600-000                                            966.26         648,412.89
          04/28/17     100002     FRANKLIN SKIERSKI HAYWARD LLP                  SPECIAL LITIGATION COUNSEL FOR TR            3210-000                                       267,426.00          380,986.89
                                  10501 N. CENTRAL EXPWY., SUITE 106             FEES PAID PER ORDER ENTERED 10/17/2014
                                  DALLAS, TX 75231                               (DOCKET #82)
          04/28/17     100003     FRANKLIN SKIERSKI HAYWARD LLP                  SPECIAL LITIGATION COUNSEL TO TR             3220-000                                           9,443.08        371,543.81
                                  10501 N. CENTRAL EXPWY., SUITE 106             EXPENSES PAID PER ORDER ENTERED
                                  DALLAS, TX 75231                               10/17/2014
                                                                                 (DOCKET #82)
          04/28/17     100004     FRANKLIN HAYWARD LLP                           SPECIAL LITIGATION COUNSEL TO TR             3210-000                                        17,835.00          353,708.81
                                  10501 N. CENTRAL EXPWY., SUITE 106             FEES PAID PER ORDER ENTERED 04/18/2017
                                  DALLAS, TX 75231                               (DOCKET #118)
          04/28/17     100005     FRANKLIN HAYWARD LLP                           SPECIAL LITIGATION COUNSEL TO TR             3220-000                                            512.92         353,195.89
                                  10501 N. CENTRAL EXPWY., SUITE 106             EXPENSES PAID PER ORDER ENTERED
                                  DALLAS, TX 75231                               04/18/2017
                                                                                 (DOCKET #118)
          04/28/17     100006     SKIERSKI LAW PLLC                              ATTORNEY FOR TRUSTEE FEES                    3210-000                                           5,775.00        347,420.89
                                  10501 N. CENTRAL EXPWY., SUITE 106             PAID PER ORDER ENTERED 04/26/2017
                                  DALLAS, TX 752321
          04/28/17     100007     SKIERSKI LAW PLLC                              ATTORNEY FOR TRUSTEE EXPENSES                3220-000                                             61.96         347,358.93
                                  10501 N. CENTRAL EXPWY., SUITE 106             PAID PER ORDER ENTERED 04/26/2017
                                  DALLAS, TX 752321
          04/28/17     100008     SKIERSKI JAIN PLLC                             ATTORNEY FOR TRUSTEE FEES                    3210-000                                        11,620.00          335,738.93
                                  2600 EAST SOUTHLAKE BLVD., SUITE 120296        PAID PER ORDER ENTERED 04/26/2017
                                  SOUTHLAKE, TX 76092
          04/28/17     100009     SKIERSKI JAIN PLLC                             ATTORNEY FOR TRUSTEE EXPENSES                3220-000                                             84.76         335,654.17
                                  2600 EAST SOUTHLAKE BLVD., SUITE 120296        PAID PER ORDER ENTERED 04/26/2017
                                  SOUTHLAKE, TX 76092
          05/25/17                UNION BANK                                     BANK SERVICE FEE                             2600-000                                            933.76         334,720.41
          06/26/17                UNION BANK                                     BANK SERVICE FEE                             2600-000                                            513.00         334,207.41
 *        08/10/17     100010     LAIN, FAULKNER & CO., P.C.                     ACCOUNTANT FOR TRUSTEE FEES                  3410-004                                        72,054.50          262,152.91

                                                                                                                        Page Subtotals                        0.00            387,226.24
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                            Exhibit 9
  Case No:             08-31914 -HDH                                                                                       Trustee Name:                    DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                Bank Name:                       UNION BANK
                                                                                                                           Account Number / CD #:           *******1616 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                              Blanket Bond (per case limit):
                                                                                                                           Separate Bond (if applicable):   $      655,000.00


           1              2                              3                                                4                                            5                        6                   7
     Transaction      Check or                                                                                                    Uniform                                                       Account / CD
        Date          Reference                Paid To / Received From                        Description Of Transaction         Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
                                  400 N. ST. PAUL STREET
                                  SUITE 600
                                  DALLAS, TX 75201
 *        08/10/17     100011     LAIN, FAULKNER & CO., P.C.                      ACCOUNTANT FOR TRUSTEE EXPENSES                3420-004                                            589.80         261,563.11
                                  400 N. ST. PAUL STREET
                                  SUITE 600
                                  DALLAS, TX 75201
 *        08/23/17     100010     LAIN, FAULKNER & CO., P.C.                      Stop Payment Reversal                          3410-004                                       -72,054.50          333,617.61
                                  400 N. ST. PAUL STREET                          SA
                                  SUITE 600
                                  DALLAS, TX 75201
 *        08/23/17     100011     LAIN, FAULKNER & CO., P.C.                      Stop Payment Reversal                          3420-004                                            -589.80        334,207.41
                                  400 N. ST. PAUL STREET                          SA
                                  SUITE 600
                                  DALLAS, TX 75201
          08/23/17     100012     LAIN, FAULKNER & CO., P.C.                      ACCOUNTANT FOR TRUSTEE FEES                    3410-000                                       72,054.50           262,152.91
                                  400 N. ST. PAUL STREET                          REISSUE ORIGINAL CHECK #100010
                                  SUITE 600
                                  DALLAS, TX 75201
          08/23/17     100013     LAIN, FAULKNER & CO., P.C.                      ACCOUNTANT FOR TRUSTEE EXPENSES                3420-000                                            589.80         261,563.11
                                  400 N. ST. PAUL STREET                          REISSUE ORIGINAL CHECK NO. 100011
                                  SUITE 600
                                  DALLAS, TX 75201
          12/14/17     100014     DANIEL J. SHERMAN, TRUSTEE                      Chapter 7 Compensation/Fees                    2100-000                                       36,007.57           225,555.54
                                  509 NORTH MONTCLAIR AVENUE
                                  DALLAS, TX 75208
          12/14/17     100015     DANIEL J. SHERMAN, TRUSTEE                      Chapter 7 Expenses                             2200-000                                           1,746.84        223,808.70
                                  509 NORTH MONTCLAIR AVENUE
                                  DALLAS, TX 75208
          12/14/17     100016     US Trustee                                      Claim 000003, Payment 100.00000%               2950-000                                            325.00         223,483.70

                                                                                                                           Page Subtotals                        0.00               38,669.21
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                                                                           ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                   Exhibit 9
  Case No:             08-31914 -HDH                                                                                                Trustee Name:                    DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                         Bank Name:                       UNION BANK
                                                                                                                                    Account Number / CD #:           *******1616 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                                       Blanket Bond (per case limit):
                                                                                                                                    Separate Bond (if applicable):   $      655,000.00


           1              2                               3                                                   4                                                 5                        6                   7
     Transaction      Check or                                                                                                             Uniform                                                      Account / CD
        Date          Reference                Paid To / Received From                           Description Of Transaction               Tran. Code       Deposits ($)          Disbursements ($)       Balance ($)
                                  1100 Commerce St.                                 (3-1) US TRUSTEE QUARTERLY FEES
                                  Room 976
                                  Dallas, TX 75242
          12/14/17     100017     SHERMAN & YAQUINTO, L.L.P.                        Claim ATTNY EXPS, Payment                             3120-000                                            126.34         223,357.36
                                  509 N. MONTCLAIR AVENUE                           100.00000%
                                  DALLAS, TX 75208                                  ATTORNEY FOR TRUSTEE EXPENSES
          12/14/17     100018     SHERMAN & YAQUINTO, L.L.P.                        Claim ATTNY FEES, Payment                             3110-000                                        37,065.00          186,292.36
                                  509 N. MONTCLAIR AVENUE                           100.00000%
                                  DALLAS, TX 75208                                  ATTORNEY FOR TRUSTEE FEES
          12/14/17     100019     Lewisville Independent School District            Claim 000004, Payment 100.00000%                      4800-000                                             45.55         186,246.81
                                  CO Andrea Sheehan                                 (4-1) 2008 estimated business
                                  4411 N Central Expwy                              personal property taxes(4-2) 2008 Personal Property
                                  Dallas, Texas 75205                               Tax
 *        12/14/17     100020     Internal Revenue Service                          Claim 000002B, Payment 100.00000%                     5800-003                                        22,061.23          164,185.58
                                  Special Procedures-Insolvency
                                  P. O. Box 21126
                                  Philadelphia, PA 19114
          12/14/17     100021     Comptroller of Public Accounts                    Claim 000005, Payment 100.00000%                      5800-000                                           6,914.70        157,270.88
                                  c/o Office of the Attorney General                (5-1) Franchise Tax Ch 171
                                  Bankruptcy - Collections Division
                                  PO Box 12548
                                  Austin TX 78711-2548
                                  512-463-4510
 *        12/14/17     100022     Giddy Up                                          Claim 000001, Payment 13.19304%                       7100-004                                       156,747.65                523.23
                                  3630 Plaza Dr. Suite No. 6                        (1-1) Final Judgment April 9, 2008
                                  Ann Arbor, MI 48108
 *        12/14/17     100023     Internal Revenue Service                          Claim 000002A, Payment 13.19292%                      7100-003                                            523.23                  0.00
                                  Special Procedures-Insolvency
                                  P. O. Box 21126
                                  Philadelphia, PA 19114

                                                                                                                                    Page Subtotals                        0.00            223,483.70
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                 Exhibit 9
  Case No:             08-31914 -HDH                                                                                            Trustee Name:                    DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                     Bank Name:                       UNION BANK
                                                                                                                                Account Number / CD #:           *******1616 Checking - Non Interest
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                                   Blanket Bond (per case limit):
                                                                                                                                Separate Bond (if applicable):   $      655,000.00


           1              2                                3                                               4                                                5                         6                  7
     Transaction      Check or                                                                                                         Uniform                                                       Account / CD
        Date          Reference                Paid To / Received From                         Description Of Transaction             Tran. Code       Deposits ($)          Disbursements ($)        Balance ($)
 *        03/02/18     100020     Internal Revenue Service                        Claim 000002B, Payment 100.00000%                   5800-003                                        -22,061.23             22,061.23
                                  Special Procedures-Insolvency                   claim not due to IRS. Claim withdrawn by IRS on
                                  P. O. Box 21126                                 03/02/2018.
                                  Philadelphia, PA 19114
 *        03/02/18     100023     Internal Revenue Service                        Claim 000002A, Payment 13.19292%                    7100-003                                            -523.23            22,584.46
                                  Special Procedures-Insolvency                   claim not due to IRS. Claim withdrawn by IRS on
                                  P. O. Box 21126                                 03/02/2018.
                                  Philadelphia, PA 19114
 *        03/05/18     100022     Giddy Up                                        Stop Payment Reversal                               7100-004                                       -156,747.65         179,332.11
                                  3630 Plaza Dr. Suite No. 6                      SA
                                  Ann Arbor, MI 48108
          04/12/18     100024     Elmer's Products, Inc.                          Claim 000001, Payment 13.19304%                     7100-000                                       179,332.11                    0.00
                                  c/o Troy Brinkmeier                             (1-1) Final Judgment April 9, 2008
                                  29 East Stephenson St.                          REISSUE ORIGINAL CHECK PAYABLE TO
                                  Freeport, IL 61032                              GIDDY UP
                                                                                  CLAIM AMENDED 03/29/2018

                                                                                                           COLUMN TOTALS                                    654,975.59               654,975.59                     0.00
                                                                                                               Less: Bank Transfers/CD's                     29,975.59                     0.00
                                                                                                           Subtotal                                         625,000.00               654,975.59
                                                                                                               Less: Payments to Debtors                                                   0.00
                                                                                                           Net
                                                                                                                                                            625,000.00               654,975.59




                                                                                                                               Page Subtotals                         0.00                    0.00
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                                                                         ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                             Exhibit 9
  Case No:             08-31914 -HDH                                                                                         Trustee Name:                      DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                  Bank Name:                         BANK OF AMERICA
                                                                                                                             Account Number / CD #:             *******8226 Money Market Account (Interest Earn
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                                Blanket Bond (per case limit):
                                                                                                                             Separate Bond (if applicable):     $     655,000.00


           1              2                              3                                                  4                                            5                         6                 7
    Transaction       Check or                                                                                                      Uniform                                                      Account / CD
       Date           Reference                Paid To / Received From                          Description Of Transaction         Tran. Code       Deposits ($)           Disbursements ($)      Balance ($)
                                                                                  BALANCE FORWARD                                                                                                             0.00
          04/01/09        1       Chase Bank                                      FUNDS ON ACCT AT JPMORGAN CHASE BNK              1129-000                   5,107.69                                   5,107.69
          04/30/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.10                                 5,107.79
          05/29/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.12                                 5,107.91
          06/30/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,108.04
          07/31/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,108.17
          08/31/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,108.30
          09/30/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,108.43
          10/30/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,108.56
          11/30/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,108.69
          12/16/09       10       CoServ Electric                                 capital credit refund                            1290-000                     10.38                                    5,119.07
          12/31/09        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,119.20
          01/29/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.12                                 5,119.32
          02/26/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.12                                 5,119.44
          03/31/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.14                                 5,119.58
          04/30/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,119.71
          05/28/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,119.84
          06/30/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,119.97
          07/30/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,120.10
          08/31/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,120.23
          09/30/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,120.36
          10/29/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.12                                 5,120.48
          11/30/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,120.61
          12/31/10        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,120.74
          01/31/11        9       BANK OF AMERICA                                 Interest Rate 0.030                              1270-000                         0.13                                 5,120.87
          02/28/11        9       BANK OF AMERICA                                 Interest Rate 0.010                              1270-000                         0.04                                 5,120.91
          03/31/11        9       BANK OF AMERICA                                 Interest Rate 0.010                              1270-000                         0.04                                 5,120.95
          04/29/11        9       BANK OF AMERICA                                 Interest Rate 0.010                              1270-000                         0.04                                 5,120.99



                                                                                                                             Page Subtotals                   5,120.99                    0.00
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                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                                         Exhibit 9
  Case No:             08-31914 -HDH                                                                                          Trustee Name:                       DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                   Bank Name:                          BANK OF AMERICA
                                                                                                                              Account Number / CD #:              *******8226 Money Market Account (Interest Earn
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                                 Blanket Bond (per case limit):
                                                                                                                              Separate Bond (if applicable):      $     655,000.00


           1              2                             3                                                 4                                                 5                          6                         7
    Transaction       Check or                                                                                                       Uniform                                                               Account / CD
       Date           Reference               Paid To / Received From                         Description Of Transaction            Tran. Code       Deposits ($)            Disbursements ($)              Balance ($)
          05/31/11        9       BANK OF AMERICA                                INTEREST REC'D FROM BANK                           1270-000                          0.04                                           5,121.03
          06/30/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.04                                           5,121.07
          07/29/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.04                                           5,121.11
          08/31/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.05                                           5,121.16
          09/30/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.04                                           5,121.20
          10/31/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.04                                           5,121.24
          10/31/11                BANK OF AMERICA                                BANK SERVICE FEE                                   2600-000                                                   6.52                  5,114.72
          11/30/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.04                                           5,114.76
          11/30/11                BANK OF AMERICA                                BANK SERVICE FEE                                   2600-000                                                   6.31                  5,108.45
          12/30/11        9       BANK OF AMERICA                                Interest Rate 0.010                                1270-000                          0.04                                           5,108.49
          12/30/11                BANK OF AMERICA                                BANK SERVICE FEE                                   2600-000                                                   6.30                  5,102.19
          01/27/12        9       BANK OF AMERICA                                INTEREST REC'D FROM BANK                           1270-000                          0.04                                           5,102.23
          01/27/12                Trsf To PREFERRED BANK                         FINAL TRANSFER                                     9999-000                                               5,102.23                       0.00

                                                                                                          COLUMN TOTALS                                         5,121.36                   5,121.36                        0.00
                                                                                                              Less: Bank Transfers/CD's                             0.00                   5,102.23
                                                                                                          Subtotal                                              5,121.36                      19.13
                                                                                                              Less: Payments to Debtors                                                        0.00
                                                                                                          Net
                                                                                                                                                                5,121.36                      19.13
                                                                                                                                                                                  NET                             ACCOUNT
                                                                                                        TOTAL - ALL ACCOUNTS                        NET DEPOSITS             DISBURSEMENTS                        BALANCE
                                                                                                   Checking - Non Interest - ********7109                     25,029.99                      156.63                         0.00
                                                                                                   Checking - Non Interest - ********1616                   625,000.00                  654,975.59                          0.00
                                                                                        Money Market Account (Interest Earn - ********8226                     5,121.36                        19.13                        0.00
                                                                                                                                                  ------------------------    ------------------------   ------------------------
                                                                                                                                                            655,151.35                  655,151.35                          0.00
                                                                                                                                                  ==============             ==============              ==============
                                                                                                                                                   (Excludes Account         (Excludes Payments                   Total Funds
                                                                                                                                                              Transfers)               To Debtors)                    On Hand



                                                                                                                              Page Subtotals                          0.37                  5,121.36
                                                                                                                                                                                                                     Ver: 20.00j
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                                     Case 08-31914-hdh7                  Doc 145 Filed 07/27/18 Entered 07/27/18 12:56:47                               Desc Main
                                                                                Document FORM
                                                                                            Page
                                                                                               2 20 of 20                                                                                     Page:   10
                                                                        ESTATE CASH RECEIPTS AND DISBURSEMENTS RECORD                                                                           Exhibit 9
  Case No:             08-31914 -HDH                                                                                       Trustee Name:                    DANIEL J. SHERMAN, TRUSTEE
  Case Name:           PRISM GRAPHICS, INC.                                                                                Bank Name:                       BANK OF AMERICA
                                                                                                                           Account Number / CD #:           *******8226 Money Market Account (Interest Earn
  Taxpayer ID No:    *******5620
  For Period Ending: 07/05/18                                                                                              Blanket Bond (per case limit):
                                                                                                                           Separate Bond (if applicable):   $      655,000.00


          1               2                             3                                              4                                               5                        6                 7
    Transaction       Check or                                                                                                    Uniform                                                     Account / CD
       Date           Reference               Paid To / Received From                      Description Of Transaction            Tran. Code       Deposits ($)          Disbursements ($)      Balance ($)
                                                                                                 Checking - Non Interest - ********7109
                                                                                                 Checking - Non Interest - ********1616
                                                                                      Money Market Account (Interest Earn - ********8226




                                                                                                                           Page Subtotals                        0.00                  0.00
                                                                                                                                                                                                      Ver: 20.00j
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